            Case 3:21-cr-03599-TWR Document 46 Filed 07/05/24 PageID.206 Page 1 of 2                                    FILED
AO 24513 (CASD Rev. 1/19) Judgment in a Criminal Case
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                                         UNITED STATES DISTRICT                                     Co            TcLERK,U.S.DISTRICTCOURT
                                             SOUTHERN DISTRICT OF CALIFORNI 0:°UTHl:AN o,srn,c                                     CAur-g;~~

                                                             AMENDED JUDGMENT IN A C
              UNITED STATES OF AMERICA                                       C'A"V
                                    V.                                       (For Offenses Committed On or After November 1, 1987)
               NORMA ELIZABETH JEAN ( 1)
                                                                                Case Number:         3:21-CR-03599-TWR

                                                                             Carolyn L Oliver
                                                                             Defendant's Attorney
USM Number                          70975-509
IZI Modification oflmposed Term oflmprisonment for Extraordinary and Compelling Reasons (18 U.S.C § 3582(c)(l))
THE DEFENDANT:
IZI pleaded guilty to count(s)            1 of the Indictment

D     was found guilty on count(s)
      after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):


Title and Section / Nature of Offense                                                                                              Count
21 :952, 960 - Importation OfMethamphetamine                                                                                         1




     The defendant is sentenced as provided in pages 2 through                   2   of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
                                                                              ------
D     The defendant has been found not guilty on count(s)

D     Count(s)                                                        is           dismissed on the motion of the United States.

IZ!   Assessment: $100.00 imposed


□     NTA Assessment* : $

      *Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
IZI   No fine                    D Forfeiture pursuant to order filed                                                      , included herein.
       IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                             Julv 3. 2024
                                                                             Date of Imposition of Sentence


                                                                                  -to514b~"-
                                                                             HON. TODD W. ROBINSON
                                                                             UNITED STATES DISTRICT JUDGE
           Case 3:21-cr-03599-TWR Document 46 Filed 07/05/24 PageID.207 Page 2 of 2

f-,.O 24)'B (CASD Rev. 1/19) Judgment in a Criminal Case

DEFENDANT:                NORMA ELIZABETH JEAN (1)                                                  Judgment - Page 2 of 2
CASE NUMBER:              3:21-CR-03599-TWR

                                                   IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
 Time served




 □     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 □     The court makes the following recommendations to the Bureau of Prisons:




 □     The defendant is remanded to the custody of the United States Marshal.

 □     The defendant must surrender to the United States Marshal for this district:
       □     at                             A.M.              on
       □     as notified by the United States Marshal.

       The defendant must surrender for service of sentence at the institution designated by the Bureau of
 □
       Prisons:
       □     on or before
       □     as notified by the United States Marshal.
       □     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows :

       Defendant delivered on
                                -------------- to ----------------
 at - - - - - - - - - - - - , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL




                                                                                                 3:21-CR-03599-TWR
